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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGI A
                              WAYCROSS DIVISIO N



UNITED STATES OF AMERIC A


       V.                                                   CASE NO. : CR506-006


DERRICK ALAN MELTON, a/k/a
 Derrick Antwon Melton,
CLIFFORD MARTI N
KING ISAAC BARBER
ERIC DEWAYNE BONEY
TETRINA LEE YOUN G

                     Defendants .

                                         ORDE R


       The May 12, 2006, Order Setting Conditions of Release for Clifford Martin is

hereby modified as follows :

              Said Defendant shall refrain from use or unlawful possession
              of a narcotic drug or other controlled substances defined in 21
              U .S.C. § 802, unless prescribed by a licensed medical
              practitioner.

              Said Defendant shall submit to testing to determine whether
              the Defendant is using a prohibited substance .

       All other conditions set forth in said May 12, 2006, Order Setting Conditions of
Release for Clifford Ma rtin shall remain in full force and effect .

       SO ORDERED , this '? d         day of June, 2006 .



                                            AMES E. GRAHAM
                                            NITED STATES MAGISTRATE JUDGE
